     Case 1:24-cv-00695-KES-HBK Document 32 Filed 06/28/24 Page 1 of 2


 1   Denies Order

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 8                                     UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11    DAVID ARTHUR DEPONTE,                               Case No. 1:24-cv-00695-KES-HBK
12                        Plaintiff,                      ORDER STRIKING PLAINTIFF’S NOTICES
                                                          TO THE COURT
13            v.
                                                          (Doc. Nos. 23, 30, 31)
14    STOHL, STERN, J. SAUCEDO, K.
      SUDANO, M. DOBE, GUNSAGA,
15
                          Defendants.
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17           On June 17, 2024, Plaintiff filed a letter “to the Clerk.” (Doc. No. 23). In his five-page

18   letter, he claims Officer Hileman is refusing to give him his legal mail. (Id. at 1). On June 25,

19   2024, Plaintiff filed a letter “to the Clerk.” (Doc. No. 30). With attachments, the letter is 27

20   pages in length. In his letter, Plaintiff claims that correctional officials are interfering with

21   Plaintiff’s legal mail. (See generally, Id.). On June 27, 2024, Plaintiff filed a letter addressed

22   “Att Clerk.” (Doc. No. 31). With attachments, the letter is 13 pages in length. Like the first and

23   second letters, Plaintiff claims correctional officials are interfering with his legal mail. (See

24   generally, Id.).

25           The Court previously struck a similar notice in its June 21, 2024 Order. (Doc. No. 25). In

26   that Order, the Court advised Plaintiff that such filings are improper. (Id. at 3-4). Neither the

27   Federal Rules of Civil Procedure nor the Local Rules provide for the right to file additional

28   pleadings outside those described in Fed. R. Civ. P. 7 (a). To the extent Plaintiff wishes to
                                                         1
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 1   request relief from this Court, he must do so through a properly filed motion. Fed. R. Civ. P. 7(b).

 2   Letters addressed to the Clerk or to the Court do not qualify as a motion.

 3            The Court has not yet conducted a screening of Plaintiff’s First Amended Complaint.

 4   (Doc. No. 26, “FAC”). A preliminary review of the FAC indicates that Plaintiff is advancing a

 5   due process claim in connection with a Rules Violation Report he received. (See generally, Id.).

 6   To the extent Plaintiff believes correctional officials are interfering with Plaintiff’s legal mail to

 7   give rise to a First Amendment violation, he must file a new civil rights action if he has exhausted

 8   his administrative remedies if he wishes to prosecute his claim. Nonetheless, the Court notes that

 9   none of the Court’s Orders in this case have been returned as undeliverable. (See generally

10   docket). Further, the Clerk has received 19 pleadings from Plaintiff in this case to date. Plaintiff

11   is duly advised and warned that any future letters addressed to the Clerk, or to the Court, will be

12   returned without filing.

13            Accordingly, it is hereby ORDERED:

14            1. The Clerk of Court is ordered to STRIKE Plaintiff’s letters to the Clerk (Docs. Nos.

15               23, 30, and 31) from the docket.

16            2. The Clerk of Court is directed to return to Plaintiff any further letters to the

17               Clerk or Court without filing them on the docket.

18            3. The Clerk of Court shall include a blank civil rights complaint form for Plaintiff use

19               should he wish to file a new complaint regarding the alleged interference with his

20               legal mail if appropriate. Plaintiff should accompany the complaint form with the
21               $402.00 filing fee or request to proceed in forma pauperis. Plaintiff should not use

22               this case number on the complaint form. The Clerk will assign a new number once the

23               complaint is received.

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     Dated:      June 28, 2024
26                                                       HELENA M. BARCH-KUCHTA
                                                         UNITED STATES MAGISTRATE JUDGE
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